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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION



 LA UNIÓN DEL PUEBLO ENTERO, et al.,
                Plaintiffs,
 v.
                                                                5:21-cv-844-XR
 GREGORY W. ABBOTT, et al.,
              Defendants.


               OBJECTIONS TO THE LUPE PLAINTIFFS’ SECOND SET
                 OF REQUESTS FOR PRODUCTION TO ATTORNEY
                        GENERAL KENNETH PAXTON

TO:    Plaintiffs La Unión Del Pueblo Entero, Friendship-West Baptist Church, Southwest Voter
       Registration Education Project, Texas Impact, Mexican American Bar Association of
       Texas, Texas Hispanics Organized for Political Education, Jolt Action, William C.
       Velasquez Institute, FIEL Houston Inc., and James Lewin, by and through their attorneys
       of record, Nina Perales, Fatima Menendez, Julia Longoria, Michael Keats, Rebecca Martin,
       Jason Kanterman, Kevin Zhen, Sean Morales-Doyle, Jasleen Singh, Patrick Berry, Robyn
       Sanders, Eliza Sweren-Becker, Andrew Garber, Paul Genender, Elizabeth Ryan, and
       Megan Cloud, Mexican American Legal Defense and Educational Fund, 110 Broadway,
       Suite 300, San Antonio, TX 78205.

       Kenneth Paxton, in his official capacity as the Texas Attorney General (“Defendant”),

hereby serves Objections and Responses to the LUPE Plaintiffs’ Second Set of Requests for

Production, pursuant to the Federal Rules of Civil Procedure.




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 Date: March 17, 2023                               Respectfully submitted.

 KEN PAXTON                                         CHRISTOPHER D. HILTON
 Attorney General of Texas                          Chief, General Litigation Division
                                                    Tex. State Bar No. 24087727
 BRENT WEBSTER
 First Assistant Attorney General                   /s/ Kathleen T. Hunker
                                                    KATHLEEN T. HUNKER
 GRANT DORFMAN                                      Special Counsel
 Deputy First Assistant Attorney General            Tex. State Bar No. 24118415

 SHAWN E. COWLES                                    J. AARON BARNES
 Deputy Attorney General for Civil Litigation       Special Counsel
                                                    Tex. State Bar No. 24099014

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                                                    aaron.barnes@oag.texas.gov

                                                    COUNSEL FOR DEFENDANT


                                    CERTIFICATE OF SERVICE

       I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on March 17, 2023, and that all counsel of record were served by CM/ECF.

                                                     /s/ Kathleen T. Hunker
                                                     KATHLEEN T. HUNKER




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                  OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

1. Defendant objects to the definition of “communication” to the extent that it calls for
communications protected from disclosure by the attorney-client privilege, attorney work product
doctrine, legislative privilege, investigative privilege, deliberative process privilege, or any other
applicable privilege.

2. Defendant objects to the definition of “document” to the extent that it calls for documents
protected from disclosure by the attorney-client privilege, attorney work product doctrine,
legislative privilege, investigative privilege, deliberative process privilege, or any other applicable
privilege.

3. Defendant objects to the definition of “SB 1” to the extent that it includes legislation “that was
introduced during the 87th First Called Session of the Texas Legislature.” Specifically, Defendant
objects to any implication that other bills beyond the legislation enacted during the Second Called
Session are relevant to the claims or defenses involved in this litigation.

4. The terms “you” and “your” are overbroad, unduly burdensome, and not proportional to the
needs of this case to the extent that they attempt to extend the scope of this request beyond the
Texas Office of the Attorney General (“Texas OAG”). Defendant is not responding for other
agencies, boards, bureaus, commissions, or other independent executive or legislative departments
of the State of Texas. Defendant objects to the requests for production, definitions, and instructions
to the extent they extend to non-parties, or require Defendant to answer for non-parties.

5. Defendant will provide responses based on terms as they are commonly understood and
consistent with the Federal Rules of Civil Procedure. Defendant objects to and will refrain from
extending or modifying any words employed in these Requests to comport with any expanded
definitions or instructions. Defendant will answer the Requests to the extent required by the
Federal Rules of Civil Procedure and the Local Rules of the Western District of Texas.




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                  SPECIFIC OBJECTIONS AND RESPONSES TO LUPE
                     PLAINTIFFS’ REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 25: All documents, including but not limited to
communications, related to the voting practices in Dallas County that were modified by SB 1,
including but not limited to, curbside voting, early voting, election clerks, election judges, poll
watchers, poll workers, voter assistance, and vote-by-mail.

RESPONSE:

Defendant objects to this request to the extent that it requires him to search and examine all
documents held by, and communications directed to or from, an employee of the Office of the
Texas Attorney General. Texas OAG employs over 4,000 individuals across multiple divisions,
very few of whom have job responsibilities that relate in any way to the subject matter of this
request. A request that reaches to each employee is thus overly broad. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous documents unrelated to the underlying controversy to determine responsiveness and
privilege, making the request unduly burdensome.

Defendant objects to this request to the extent that it calls for “all documents” even tangentially
“related to” practices “modified by SB 1,” regardless of whether such modifications are related to
the LUPE Plaintiffs’ claims or Defendant’s defenses. SB1 is a comprehensive voting integrity bill
featuring numerous provisions that are not the subject of this litigation. The inexhaustive listing of
broad categories such as “early voting” and “vote-by-mail” does nothing to narrow the overly
broad scope of the request. Furthermore, certain “voter assistance” provisions have been
permanently enjoined in other litigation, rendering them irrelevant to ongoing challenges here. See
OCA Greater Houston, et al. v. State of Texas, et al., No. 1:15-cv-00679-RP. Any extension of
this request to documents related to the provisions not challenged in this litigation or permanently
enjoined in other litigation lacks the relevance required by Rule 26(b).

Finally, Defendant objects to this request to the extent that it calls for the production of documents
subject to legislative privilege, attorney-client privilege, attorney opinion work-product,
deliberative process privilege, investigative privilege, or any other applicable legal privilege.
Defendant also objects to this request to the extent that it encompasses documents publicly
available or otherwise equally accessible to the LUPE Plaintiffs.

Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request within a reasonable time of
this response if they exist and to the extent they are not withheld based upon any of the foregoing
privileges or objections.

REQUEST FOR PRODUCTION NO. 26: All documents, including but not limited to
communications, related to voter turnout in Dallas County.

RESPONSE:



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Defendant objects to this request to the extent that it requires him to search and examine all
documents held by, and communications directed to or from, an employee of the Office of the
Texas Attorney General. Texas OAG employs over 4,000 individuals across multiple divisions,
very few of whom have job responsibilities that relate in any way to the subject matter of this
request. A request that reaches to each employee is thus overly broad. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous documents unrelated to the underlying controversy to determine responsiveness and
privilege, making the request unduly burdensome.

Defendant objects to the term “voter turnout” as vague and ambiguous. That term is nowhere
defined in these Requests. Absent the application of search terms aimed at identifying responsive
documents, the request would require Defendant, and later counsel, to search, identify, and review
voluminous emails and documents unrelated to the underlying controversy to determine
responsiveness and privilege, making the request unduly burdensome.

Finally, Defendant objects to this request to the extent that it calls for the production of documents
subject to legislative privilege, attorney-client privilege, attorney opinion work-product,
deliberative process privilege, investigative privilege, or any other applicable legal privilege.
Defendant also objects to this request to the extent that it encompasses documents publicly
available or otherwise equally accessible to the LUPE Plaintiffs.

Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request within a reasonable time of
this response if they exist and to the extent they are not withheld based upon any of the foregoing
privileges or objections.

REQUEST FOR PRODUCTION NO. 27: All documents, including but not limited to
communications, related to actual, suspected or alleged election fraud, illegal voting, and other
criminal conduct related to the 2022 General Election in Dallas County.

RESPONSE:

Defendant objects to this request to the extent that it requires him to search and examine all
documents held by, and communications directed to or from, an employee of the Office of the
Texas Attorney General. Texas OAG employs over 4,000 individuals across multiple divisions,
very few of whom have job responsibilities that relate in any way to the subject matter of this
request. A request that reaches to each employee is thus overly broad. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous documents unrelated to the underlying controversy to determine responsiveness and
privilege, making the request unduly burdensome.

Defendant objects to this request to the extent that it calls for “all documents” even tangentially
“related to” certain election-related criminal conduct, regardless of whether that conduct relates to
provisions of SB 1 challenged in this litigation. While SB 1 adds or amends some criminal
penalties for election-related offenses, not all such penalties are challenged by the LUPE Plaintiffs.
Suspicions or allegations of criminal conduct not related to, or meant to be addressed by, SB 1 are

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even less relevant. Extending this request to documents related to the SB 1 provisions or other
laws not challenged in this litigation is likely to bring in a voluminous number of irrelevant
documents, thus imposing an undue burden on Defendant and counsel that far outweighs any
resulting benefit.

Finally, Defendant objects to this request to the extent that it calls for the production of documents
subject to legislative privilege, attorney-client privilege, attorney opinion work-product,
deliberative process privilege, or any other applicable legal privilege, particularly investigative
privilege. The release of non-public information related to these files would invariably reveal the
identity of suspects, witnesses, and reporting parties, thereby compromising ongoing investigation.
The release of this information also bears the risk compromising future investigations to the extent
it reveals law enforcement’s methods and tactics for detecting and investigating election fraud
offenses. Defendant therefore considers any documents related to its investigative and prosecution
case files to be privileged, unduly burdensome, and not proportional to the needs of the case.

Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request within a reasonable time of
this response if they exist and to the extent they are not withheld based upon any of the foregoing
privileges or objections.

REQUEST FOR PRODUCTION NO. 28: All documents, including but not limited to
communications, related to the voting practices in El Paso County that were modified by SB 1,
including but not limited to, curbside voting, early voting, election clerks, election judges, poll
watchers, poll workers, voter assistance, and vote-by-mail.

RESPONSE:

Defendant objects to this request to the extent that it requires him to search and examine all
documents held by, and communications directed to or from, an employee of the Office of the
Texas Attorney General. Texas OAG employs over 4,000 individuals across multiple divisions,
very few of whom have job responsibilities that relate in any way to the subject matter of this
request. A request that reaches to each employee is thus overly broad. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous documents unrelated to the underlying controversy to determine responsiveness and
privilege, making the request unduly burdensome.

Defendant objects to this request to the extent that it calls for “all documents” even tangentially
“related to” practices “modified by SB 1,” regardless of whether such modifications are related to
the LUPE Plaintiffs’ claims or Defendant’s defenses. SB1 is a comprehensive voting integrity bill
featuring numerous provisions that are not the subject of this litigation. The inexhaustive listing of
broad categories such as “early voting” and “vote-by-mail” does nothing to narrow the overly
broad scope of the request. Furthermore, certain “voter assistance” provisions have been
permanently enjoined in other litigation, rendering them irrelevant to ongoing challenges here. See
OCA Greater Houston, et al. v. State of Texas, et al., No. 1:15-cv-00679-RP. Any extension of
this request to documents related to the provisions not challenged in this litigation or permanently
enjoined in other litigation lacks the relevance required by Rule 26(b).

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Finally, Defendant objects to this request to the extent that it calls for the production of documents
subject to legislative privilege, attorney-client privilege, attorney opinion work-product,
deliberative process privilege, investigative privilege, or any other applicable legal privilege.
Defendant also objects to this request to the extent that it encompasses documents publicly
available or otherwise equally accessible to the LUPE Plaintiffs.

Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request within a reasonable time of
this response if they exist and to the extent they are not withheld based upon any of the foregoing
privileges or objections.

REQUEST FOR PRODUCTION NO. 29: All documents, including but not limited to
communications, related to voter turnout in El Paso County.

RESPONSE:

Defendant objects to this request to the extent that it requires him to search and examine all
documents held by, and communications directed to or from, an employee of the Office of the
Texas Attorney General. Texas OAG employs over 4,000 individuals across multiple divisions,
very few of whom have job responsibilities that relate in any way to the subject matter of this
request. A request that reaches to each employee is thus overly broad. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous documents unrelated to the underlying controversy to determine responsiveness and
privilege, making the request unduly burdensome.

Defendant objects to the term “voter turnout” as vague and ambiguous. That term is nowhere
defined in these Requests. Absent the application of search terms aimed at identifying responsive
documents, the request would require Defendant, and later counsel, to search, identify, and review
voluminous emails and documents unrelated to the underlying controversy to determine
responsiveness and privilege, making the request unduly burdensome.

Finally, Defendant objects to this request to the extent that it calls for the production of documents
subject to legislative privilege, attorney-client privilege, attorney opinion work-product,
deliberative process privilege, investigative privilege, or any other applicable legal privilege.
Defendant also objects to this request to the extent that it encompasses documents publicly
available or otherwise equally accessible to the LUPE Plaintiffs.

Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request within a reasonable time of
this response if they exist and to the extent they are not withheld based upon any of the foregoing
privileges or objections.

REQUEST FOR PRODUCTION NO. 30: All documents, including but not limited to
communications, related to actual, suspected or alleged election fraud, illegal voting, and other
criminal conduct related to the 2022 General Election in El Paso County.

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RESPONSE:

Defendant objects to this request to the extent that it requires him to search and examine all
documents held by, and communications directed to or from, an employee of the Office of the
Texas Attorney General. Texas OAG employs over 4,000 individuals across multiple divisions,
very few of whom have job responsibilities that relate in any way to the subject matter of this
request. A request that reaches to each employee is thus overly broad. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous documents unrelated to the underlying controversy to determine responsiveness and
privilege, making the request unduly burdensome.

Defendant objects to this request to the extent that it calls for “all documents” even tangentially
“related to” certain election-related criminal conduct, regardless of whether that conduct relates to
provisions of SB 1 challenged in this litigation. While SB 1 adds or amends some criminal
penalties for election-related offenses, not all such penalties are challenged by the LUPE Plaintiffs.
Suspicions or allegations of criminal conduct not related to, or meant to be addressed by, SB 1 are
even less relevant. Extending this request to documents related to the SB 1 provisions or other
laws not challenged in this litigation is likely to bring in a voluminous number of irrelevant
documents, thus imposing an undue burden on Defendant and counsel that far outweighs any
resulting benefit.

Finally, Defendant objects to this request to the extent that it calls for the production of documents
subject to legislative privilege, attorney-client privilege, attorney opinion work-product,
deliberative process privilege, or any other applicable legal privilege, particularly investigative
privilege. The release of non-public information related to these files would invariably reveal the
identity of suspects, witnesses, and reporting parties, thereby compromising ongoing investigation.
The release of this information also bears the risk compromising future investigations to the extent
it reveals law enforcement’s methods and tactics for detecting and investigating election fraud
offenses. Defendant therefore considers any documents related to its investigative and prosecution
case files to be privileged, unduly burdensome, and not proportional to the needs of the case.

Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request within a reasonable time of
this response if they exist and to the extent they are not withheld based upon any of the foregoing
privileges or objections.

REQUEST FOR PRODUCTION NO. 31: All documents, including but not limited to
communications, related to the voting practices in Hidalgo County that were modified by SB 1,
including but not limited to, curbside voting, early voting, election clerks, election judges, poll
watchers, poll workers, voter assistance, and vote-by-mail.

RESPONSE:

Defendant objects to this request to the extent that it requires him to search and examine all
documents held by, and communications directed to or from, an employee of the Office of the

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Texas Attorney General. Texas OAG employs over 4,000 individuals across multiple divisions,
very few of whom have job responsibilities that relate in any way to the subject matter of this
request. A request that reaches to each employee is thus overly broad. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous documents unrelated to the underlying controversy to determine responsiveness and
privilege, making the request unduly burdensome.

Defendant objects to this request to the extent that it calls for “all documents” even tangentially
“related to” practices “modified by SB 1,” regardless of whether such modifications are related to
the LUPE Plaintiffs’ claims or Defendant’s defenses. SB1 is a comprehensive voting integrity bill
featuring numerous provisions that are not the subject of this litigation. The inexhaustive listing of
broad categories such as “early voting” and “vote-by-mail” does nothing to narrow the overly
broad scope of the request. Furthermore, certain “voter assistance” provisions have been
permanently enjoined in other litigation, rendering them irrelevant to ongoing challenges here. See
OCA Greater Houston, et al. v. State of Texas, et al., No. 1:15-cv-00679-RP. Any extension of
this request to documents related to the provisions not challenged in this litigation or permanently
enjoined in other litigation lacks the relevance required by Rule 26(b).

Finally, Defendant objects to this request to the extent that it calls for the production of documents
subject to legislative privilege, attorney-client privilege, attorney opinion work-product,
deliberative process privilege, investigative privilege, or any other applicable legal privilege.
Defendant also objects to this request to the extent that it encompasses documents publicly
available or otherwise equally accessible to the LUPE Plaintiffs.

Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request within a reasonable time of
this response if they exist and to the extent they are not withheld based upon any of the foregoing
privileges or objections.

REQUEST FOR PRODUCTION NO. 32: All documents, including but not limited to
communications, related to voter turnout in Hidalgo County.

RESPONSE:

Defendant objects to this request to the extent that it requires him to search and examine all
documents held by, and communications directed to or from, an employee of the Office of the
Texas Attorney General. Texas OAG employs over 4,000 individuals across multiple divisions,
very few of whom have job responsibilities that relate in any way to the subject matter of this
request. A request that reaches to each employee is thus overly broad. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous documents unrelated to the underlying controversy to determine responsiveness and
privilege, making the request unduly burdensome.

Defendant objects to the term “voter turnout” as vague and ambiguous. That term is nowhere
defined in these Requests. Absent the application of search terms aimed at identifying responsive
documents, the request would require Defendant, and later counsel, to search, identify, and review

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voluminous emails and documents unrelated to the underlying controversy to determine
responsiveness and privilege, making the request unduly burdensome.

Finally, Defendant objects to this request to the extent that it calls for the production of documents
subject to legislative privilege, attorney-client privilege, attorney opinion work-product,
deliberative process privilege, investigative privilege, or any other applicable legal privilege.
Defendant also objects to this request to the extent that it encompasses documents publicly
available or otherwise equally accessible to the LUPE Plaintiffs.

Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request within a reasonable time of
this response if they exist and to the extent they are not withheld based upon any of the foregoing
privileges or objections.

REQUEST FOR PRODUCTION NO. 33: All documents, including but not limited to
communications, related to actual, suspected or alleged election fraud, illegal voting, and other
criminal conduct related to the 2022 General Election in Hidalgo County.

RESPONSE:

Defendant objects to this request to the extent that it requires him to search and examine all
documents held by, and communications directed to or from, an employee of the Office of the
Texas Attorney General. Texas OAG employs over 4,000 individuals across multiple divisions,
very few of whom have job responsibilities that relate in any way to the subject matter of this
request. A request that reaches to each employee is thus overly broad. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous documents unrelated to the underlying controversy to determine responsiveness and
privilege, making the request unduly burdensome.

Defendant objects to this request to the extent that it calls for “all documents” even tangentially
“related to” certain election-related criminal conduct, regardless of whether that conduct relates to
provisions of SB 1 challenged in this litigation. While SB 1 adds or amends some criminal
penalties for election-related offenses, not all such penalties are challenged by the LUPE Plaintiffs.
Suspicions or allegations of criminal conduct not related to, or meant to be addressed by, SB 1 are
even less relevant. Extending this request to documents related to the SB 1 provisions or other
laws not challenged in this litigation is likely to bring in a voluminous number of irrelevant
documents, thus imposing an undue burden on Defendant and counsel that far outweighs any
resulting benefit.

Finally, Defendant objects to this request to the extent that it calls for the production of documents
subject to legislative privilege, attorney-client privilege, attorney opinion work-product,
deliberative process privilege, or any other applicable legal privilege, particularly investigative
privilege. The release of non-public information related to these files would invariably reveal the
identity of suspects, witnesses, and reporting parties, thereby compromising ongoing investigation.
The release of this information also bears the risk compromising future investigations to the extent
it reveals law enforcement’s methods and tactics for detecting and investigating election fraud

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offenses. Defendant therefore considers any documents related to its investigative and prosecution
case files to be privileged, unduly burdensome, and not proportional to the needs of the case.

Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request within a reasonable time of
this response if they exist and to the extent they are not withheld based upon any of the foregoing
privileges or objections.

REQUEST FOR PRODUCTION NO. 34: All documents, including but not limited to
communications, related to the voting practices in Travis County that were modified by SB 1,
including but not limited to, curbside voting, early voting, election clerks, election judges, poll
watchers, poll workers, voter assistance, and vote-by-mail.

RESPONSE:

Defendant objects to this request to the extent that it requires him to search and examine all
documents held by, and communications directed to or from, an employee of the Office of the
Texas Attorney General. Texas OAG employs over 4,000 individuals across multiple divisions,
very few of whom have job responsibilities that relate in any way to the subject matter of this
request. A request that reaches to each employee is thus overly broad. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous documents unrelated to the underlying controversy to determine responsiveness and
privilege, making the request unduly burdensome.

Defendant objects to this request to the extent that it calls for “all documents” even tangentially
“related to” practices “modified by SB 1,” regardless of whether such modifications are related to
the LUPE Plaintiffs’ claims or Defendant’s defenses. SB1 is a comprehensive voting integrity bill
featuring numerous provisions that are not the subject of this litigation. The inexhaustive listing of
broad categories such as “early voting” and “vote-by-mail” does nothing to narrow the overly
broad scope of the request. Furthermore, certain “voter assistance” provisions have been
permanently enjoined in other litigation, rendering them irrelevant to ongoing challenges here. See
OCA Greater Houston, et al. v. State of Texas, et al., No. 1:15-cv-00679-RP. Any extension of
this request to documents related to the provisions not challenged in this litigation or permanently
enjoined in other litigation lacks the relevance required by Rule 26(b).

Finally, Defendant objects to this request to the extent that it calls for the production of documents
subject to legislative privilege, attorney-client privilege, attorney opinion work-product,
deliberative process privilege, investigative privilege, or any other applicable legal privilege.
Defendant also objects to this request to the extent that it encompasses documents publicly
available or otherwise equally accessible to the LUPE Plaintiffs.

Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request within a reasonable time of
this response if they exist and to the extent they are not withheld based upon any of the foregoing
privileges or objections.



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REQUEST FOR PRODUCTION NO. 35: All documents, including but not limited to
communications, related to voter turnout in Travis County.

RESPONSE:

Defendant objects to this request to the extent that it requires him to search and examine all
documents held by, and communications directed to or from, an employee of the Office of the
Texas Attorney General. Texas OAG employs over 4,000 individuals across multiple divisions,
very few of whom have job responsibilities that relate in any way to the subject matter of this
request. A request that reaches to each employee is thus overly broad. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous documents unrelated to the underlying controversy to determine responsiveness and
privilege, making the request unduly burdensome.

Defendant objects to the term “voter turnout” as vague and ambiguous. That term is nowhere
defined in these Requests. Absent the application of search terms aimed at identifying responsive
documents, the request would require Defendant, and later counsel, to search, identify, and review
voluminous emails and documents unrelated to the underlying controversy to determine
responsiveness and privilege, making the request unduly burdensome.

Finally, Defendant objects to this request to the extent that it calls for the production of documents
subject to legislative privilege, attorney-client privilege, attorney opinion work-product,
deliberative process privilege, investigative privilege, or any other applicable legal privilege.
Defendant also objects to this request to the extent that it encompasses documents publicly
available or otherwise equally accessible to the LUPE Plaintiffs.

Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request within a reasonable time of
this response if they exist and to the extent they are not withheld based upon any of the foregoing
privileges or objections.

REQUEST FOR PRODUCTION NO. 36: All documents, including but not limited to
communications, related to actual, suspected or alleged election fraud, illegal voting, and other
criminal conduct related to the 2022 General Election in Travis County.

RESPONSE:

Defendant objects to this request to the extent that it requires him to search and examine all
documents held by, and communications directed to or from, an employee of the Office of the
Texas Attorney General. Texas OAG employs over 4,000 individuals across multiple divisions,
very few of whom have job responsibilities that relate in any way to the subject matter of this
request. A request that reaches to each employee is thus overly broad. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous documents unrelated to the underlying controversy to determine responsiveness and
privilege, making the request unduly burdensome.



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Defendant objects to this request to the extent that it calls for “all documents” even tangentially
“related to” certain election-related criminal conduct, regardless of whether that conduct relates to
provisions of SB 1 challenged in this litigation. While SB 1 adds or amends some criminal
penalties for election-related offenses, not all such penalties are challenged by the LUPE Plaintiffs.
Suspicions or allegations of criminal conduct not related to, or meant to be addressed by, SB 1 are
even less relevant. Extending this request to documents related to the SB 1 provisions or other
laws not challenged in this litigation is likely to bring in a voluminous number of irrelevant
documents, thus imposing an undue burden on Defendant and counsel that far outweighs any
resulting benefit.

Finally, Defendant objects to this request to the extent that it calls for the production of documents
subject to legislative privilege, attorney-client privilege, attorney opinion work-product,
deliberative process privilege, or any other applicable legal privilege, particularly investigative
privilege. The release of non-public information related to these files would invariably reveal the
identity of suspects, witnesses, and reporting parties, thereby compromising ongoing investigation.
The release of this information also bears the risk compromising future investigations to the extent
it reveals law enforcement’s methods and tactics for detecting and investigating election fraud
offenses. Defendant therefore considers any documents related to its investigative and prosecution
case files to be privileged, unduly burdensome, and not proportional to the needs of the case.

Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request within a reasonable time of
this response if they exist and to the extent they are not withheld based upon any of the foregoing
privileges or objections.

REQUEST FOR PRODUCTION NO. 37: All documents, including but not limited to
communications, between or among you, any Texas county, and/or the Office of the Texas
Secretary of State related to criminal conduct that has or may have occurred in connection with
the 2022 General Election, including, without limitation, documents regarding individuals who are
not eligible to vote and who registered to vote or voted.

RESPONSE:

Defendant objects to this request to the extent that it requires him to search and examine all
documents held by, and communications directed to or from, an employee of the Office of the
Texas Attorney General. Texas OAG employs over 4,000 individuals across multiple divisions,
very few of whom have job responsibilities that relate in any way to the subject matter of this
request. A request that reaches to each employee is thus overly broad. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous documents unrelated to the underlying controversy to determine responsiveness and
privilege, making the request unduly burdensome.

Defendant further objects to this request to the extent that it calls for “all documents” even
tangentially “related to” certain election-related criminal conduct, regardless of whether that
conduct relates to provisions of SB 1 challenged in this litigation. While SB 1 adds or amends
some criminal penalties for election-related offenses, not all such penalties are challenged by the

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LUPE Plaintiffs. Suspicions or allegations of criminal conduct not related to, or meant to be
addressed by, SB 1 are even less relevant. Extending this request to documents related to the SB 1
provisions or other laws not challenged in this litigation is likely to bring in a voluminous number
of irrelevant documents, thus imposing an undue burden on Defendant and counsel that far
outweighs any resulting benefit.

Defendant further objects to this Request to the extent that it duplicates the documents sought by
RFPs 27, 30, 33, and 36. This request not only covers four counties that are parties to this litigation,
but the 250 other counties throughout the state. Defendant further objects because this request is
also unduly duplicative of RFP 38. This expansive scope only exacerbates the overbreadth of the
other requests covering similar, overlapping materials.

Finally, Defendant objects to this request to the extent that it calls for the production of documents
subject to legislative privilege, attorney-client privilege, attorney opinion work-product,
deliberative process privilege, or any other applicable legal privilege, particularly investigative
privilege. The release of non-public information related to these files would invariably reveal the
identity of suspects, witnesses, and reporting parties, thereby compromising ongoing investigation.
The release of this information also bears the risk compromising future investigations to the extent
it reveals law enforcement’s methods and tactics for detecting and investigating election fraud
offenses. Defendant therefore considers any documents related to its investigative and prosecution
case files to be privileged, unduly burdensome, and not proportional to the needs of the case.

Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request within a reasonable time of
this response if they exist and to the extent they are not withheld based upon any of the foregoing
privileges or objections.

REQUEST FOR PRODUCTION NO. 38: All documents, including but not limited to
communications, related to the Texas Secretary of State’s determination that possible criminal
conduct in connection with the 2022 General Election occurred.

RESPONSE:

Defendant objects to this request to the extent that it requires him to search and examine all
documents held by, and communications directed to or from, an employee of the Office of the
Texas Attorney General. Texas OAG employs over 4,000 individuals across multiple divisions,
very few of whom have job responsibilities that relate in any way to the subject matter of this
request. A request that reaches to each employee is thus overly broad. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous documents unrelated to the underlying controversy to determine responsiveness and
privilege, making the request unduly burdensome.

Defendant objects to this Request to the extent that it duplicates the documents sought by RFPs
27, 30, 33, and 36. Defendant further objects to this request to the extent that it calls for “all
documents” even tangentially “related to” certain election-related criminal conduct, regardless of
whether that conduct relates to provisions of SB 1 challenged in this litigation. While SB 1 adds

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or amends some criminal penalties for election-related offenses, not all such penalties are
challenged by the LUPE Plaintiffs. Suspicions or allegations of criminal conduct not related to, or
meant to be addressed by, SB 1 are even less relevant. Extending this request to documents related
to the SB 1 provisions or other laws not challenged in this litigation is likely to bring in a
voluminous number of irrelevant documents, thus imposing an undue burden on Defendant and
counsel that far outweighs any resulting benefit.

Finally, Defendant objects to this request to the extent that it calls for the production of documents
subject to legislative privilege, attorney-client privilege, attorney opinion work-product,
deliberative process privilege, or any other applicable legal privilege, particularly investigative
privilege. The release of non-public information related to these files would invariably reveal the
identity of suspects, witnesses, and reporting parties, thereby compromising ongoing investigation.
The release of this information also bears the risk compromising future investigations to the extent
it reveals law enforcement’s methods and tactics for detecting and investigating election fraud
offenses. Defendant therefore considers any documents related to its investigative and prosecution
case files to be privileged, unduly burdensome, and not proportional to the needs of the case.

Defendant is conducting a diligent search for responsive documents and will produce non-
privileged documents and communications responsive to this request within a reasonable time of
this response if they exist and to the extent they are not withheld based upon any of the foregoing
privileges or objections.

REQUEST FOR PRODUCTION NO. 39: All documents, including but not limited to
communications, between or among you, any Texas county, and/or the Office of the Texas
Secretary of State regarding non-compliance with Sections 15.083, 16.032, and 18.061 of the
Texas Election Code and/or with rules implementing the statewide computerized voter registration
list.

RESPONSE:

Defendant objects to this request to the extent that it requires him to search and examine all
documents held by, and communications directed to or from, an employee of the Office of the
Texas Attorney General. Texas OAG employs over 4,000 individuals across multiple divisions,
very few of whom have job responsibilities that relate in any way to the subject matter of this
request. A request that reaches to each employee is thus overly broad. Without additional
parameters, the request would require Defendant, and later counsel, to search, identify, and review
voluminous documents unrelated to the underlying controversy to determine responsiveness and
privilege, making the request unduly burdensome.

Section 2.06 of SB1 has been challenged by the LUPE Plaintiffs and adds subsections (e), (f), (g),
(h), and (i) of Section 18.065 of the Texas Election Code. Those additional subsections only
address remedial measures authorized if a voter registrar is not in substantial compliance with
requirements imposed pursuant to Section 18.065(a). Defendant therefore objects to the extent that
this request seeks documents and communications related to voter registrars that have complied
with such requirements because those determinations are not relevant to any claim or defense
involved in this litigation.

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Defendant further objects to the extent that documents and communications involving Sections
15.083, 16.032, and 18.061 of the Texas Election Code constitute “Ultrasensitive Information”
under the Stipulated Protective Order. Because the LUPE Plaintiffs are not party to that Order,
Defendant will not produce any information that “is of a sensitive technical nature and is not
generally known to others or the public” that “would not normally be revealed to third parties
except in confidence due to data-security and election-integrity concerns.” See ECF 162 at 3.

Finally, Defendant objects to this request to the extent that it calls for the production of documents
subject to legislative privilege, attorney-client privilege, attorney opinion work-product,
deliberative process privilege, investigative privilege, or any other applicable legal privilege.

Defendant is conducting a diligent search for responsive documents and will produce non-
privileged, non-ultrasensitive documents and communications responsive to this request within a
reasonable time of this response if they exist and to the extent they are not withheld based upon
any of the foregoing privileges or objections.




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